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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION
                              CIVIL ACTION NO. 1:12CV-84-M

 NAOMI ECKHARDT                                                                      PLAINTIFF


 V.                           AGREED ORDER OF DISMISSAL


 WESTERN KENTUCKY UNIVERSITY                                                       DEFENDANT


         Upon Agreement of the parties and the Court being sufficiently advised,

         It is hereby ORDERED that this matter is dismissed with prejudice as settled, in its

 entirety.

         This Order is final and appealable, there being no just cause for delay. Each party will

 bear its own costs.

         This the ___ day of November, 2012.




 Have seen and Agreed to:



 /s/ Greg N. Stivers (with permission for) ______
 Pamela Bratcher
 Attorney for Plaintiff


 /s/ Greg N. Stivers__________________________
 Greg N. Stivers
 Attorney for Defendant
